       Case 1:20-cv-00142-DLH-CRH Document 90 Filed 06/24/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Ricky Schuh,                              )
                                          )
               Plaintiff,                 ) ORDER ADOPTING REPORT
                                          ) AND RECOMMENDATION
        vs.                               )
                                          ) Case No. 1:20-cv-142
Burleigh Morton Detention Center,         )
Sgt. Eric Howe, Chaplain Greg Carr,       )
Sgt. Eva Burman, Lt. Jennifer Rewald,     )
Officer Jeff Olson, Officer Cameron Bott, )
and Wyette Parisien.                      )
                                          )
               Defendants.                )
______________________________________________________________________________

        The Plaintiff, a former inmate at the Burleigh Morton Detention Center and current inmate

at the North Dakota State Penitentiary, initiated this pro se civil rights action on August 7, 2020.

See Doc. No. 1. An amended complaint was filed on January 26, 2022. See Doc. No. 74. After

screening the amended complaint as required by 28 U.S.C. § 1915A, Magistrate Judge Clare R.

Hochhalter issued a Report and Recommendation on April 21, 2022, in which he recommended that

some of the claims be dismissed while others be allowed to go forward. See Doc. No. 82. The

Plaintiff was given until May 13, 2022, to file an objection to the Report and Recommendation. On

May 16, 2022, the Plaintiff filed an objection. See Doc. No. 84.

        The Court has carefully reviewed the Report and Recommendation, the relevant case law,

the Plaintiff’s objection, and the entire record, and finds the Report and Recommendation to be

persuasive. The Court finds the Plaintiff’s objection unpersuasive. The Court agrees that the

Plaintiff’s First Amendment and Religious Land Use and Institutionalized Persons Act (RLUIPA)

claims should be allowed to go forward at this early stage, while the retaliation and equal protection

claims fail.
     Case 1:20-cv-00142-DLH-CRH Document 90 Filed 06/24/22 Page 2 of 2




      The Court ADOPTS the Report and Recommendation (Doc. Nos. 82) in its entirety and

ORDERS as follows:

      1)     Burleigh County will be substituted as a Defendant in place of the Burleigh Morton

             Detention Center.

      2)     The Plaintiff will be permitted to proceed with his First Amendment and RLUIPA

             contentions in Claims One and Three against Burleigh County and against Howe,

             Carr, Olson, Bott, and Parisien solely in their official capacities.

      3)     Claims Two and Four and all other claims are DISMISSED.

      4)     The claims against Defendants Jennifer Rewald and Eva Burman are DISMISSED.

      5)     The Clerk of the District Court is directed to effectuate service of the amended

             complaint (Doc. No. 74) on the named Defendants along with a copy of the Court’s

             screening order making clear what claims the Plaintiff is permitted to proceed with.

      IT IS SO ORDERED.

      Dated this 24th day of June, 2022.

                                            /s/ Daniel L. Hovland
                                            Daniel L. Hovland, District Judge
                                            United States District Court




                                                2
